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 1   BATHAEE DUNNE LLP                             SCOTT+SCOTT ATTORNEYS AT LAW LLP
     Yavar Bathaee (CA 282388)                     Amanda F. Lawrence (pro hac vice)
 2                                                 alawrence@scott-scott.com
     yavar@bathaeedunne.com
     Andrew C. Wolinsky (CA 45965)                 Patrick J. McGahan (pro hac vice)
 3                                                 pmcgahan@scott-scott.com
     awolinsky@bathaeedunne.com                    Michael P. Srodoski (pro hac vice)
 4   445 Park Avenue, 9th Floor                    msrodoski@scott-scott.com
     New York, NY 10022                            156 South Main Street, P.O. Box 192
 5   Tel.: (332) 322-8835                          Colchester, CT 06415
                                                   Tel.: (860) 537-5537
 6
     Brian J. Dunne (CA 275689)
     bdunne@bathaeedunne.com                       Patrick J. Coughlin (CA 111070)
 7                                                 pcoughlin@scott-scott.com
     Edward M. Grauman (pro hac vice)              Carmen A. Medici (CA 248417)
 8   egrauman@bathaeedunne.com                     cmedici@scott-scott.com
     901 South MoPac Expressway                    Hal D. Cunningham (CA 243048)
 9   Barton Oaks Plaza I, Suite 300                hcunningham@scott-scott.com
     Austin, TX 78746                              Daniel J. Brockwell (CA 335983)
10                                                 dbrockwell@scott-scott.com
     Tel.: (213) 462-2772
                                                   600 W. Broadway, Suite 3300
11                                                 San Diego, CA 92101
     Interim Co-Lead Counsel for the               Tel.: (619) 233-4565
12   Advertiser Classes
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                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
                                       SAN FRANCISCO DIVISION
17
   MAXIMILIAN KLEIN, et al., on behalf of             Consolidated Case No. 3:20-cv-08570-JD
18 themselves and all others similarly situated,
                                                      DECLARATION OF AMANDA F.
19            Plaintiffs,                             LAWRENCE IN SUPPORT OF
                                                      ADVERTISER PLAINTIFFS’ REPLY
20          v.                                        MEMORANDUM IN SUPPORT OF
                                                      MOTION FOR CLASS CERTIFICATION
21 META PLATFORMS, INC.,
                                                      Hearing Date: December 14, 2023
22            Defendant.                              Hearing Time: 10:00 a.m.
                                                      Courtroom: 11, 19th Floor
23
                                                      Judge: The Honorable James Donato
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         DECL. OF AMANDA F. LAWRENCE ISO ADVERTISER PLAINTIFFS’ REPLY MEM. IN SUPPORT OF
                      MOT. FOR CLASS CERTIFICATION – CASE NO. 3:20-CV-08570-JD
         Case 3:20-cv-08570-JD Document 700-1 Filed 11/04/23 Page 2 of 3




 1         I, Amanda F. Lawrence, declare as follows:

 2         1.      I am an attorney admitted pro hac vice in this action (the “Action”). I am a partner at

 3 Scott+Scott Attorneys at Law LLP, interim Co-Lead Counsel for the Advertiser Classes in the Action.

 4 I submit this declaration in support of Advertiser Plaintiffs’ Reply Memorandum in Support of Motion

 5 for Class Certification. The contents of this declaration are based on my personal knowledge,

 6 including my personal knowledge of the documents cited herein. The facts set forth herein are within

 7 my personal knowledge and if called as a witness, I could and would competently testify to them.

 8         2.      Attached hereto as Exhibit 1 is a true and correct copy of Section 657 of Phillip A.
 9 Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

10 Application (2023).

11         3.      Attached hereto as Exhibit 2 is a true and correct copy of Section 320 of Phillip A.
12 Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

13 Application (2023).

14         4.      Attached hereto as Exhibit 3 is a true and correct copy of excerpts from Chapter 4 of
15 Am. Bar Ass’n, Proving Antitrust Damages: Legal and Economic Issues (3d ed. 2017).

16         5.      Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the Deposition
17 Transcript of Catherine Tucker, Ph.D, dated September 26, 2023.

18         6.      Attached hereto as Exhibit 5 is a true and correct copy of a document produced by

19 Meta Platforms, Inc. (“Meta”) in this action bearing Bates-stamp PALM-FTC-00292605.

20         7.      Attached hereto as Exhibit 6 is a true and correct copy of excerpts from the Deposition

21 Transcript of Alex Schultz, dated March 31, 2023.

22         8.      Attached hereto as Exhibit 7 is a true and correct copy of a document produced by

23 Meta in this action bearing Bates-stamp PALM-006974711.

24         9.      Attached hereto as Exhibit 8 is a true and correct copy of a document produced by

25 Meta in this action bearing Bates-stamp PALM-003309653.

26         10.     Attached hereto as Exhibit 9 is a true and correct copy of a document produced by

27 Meta in this action bearing Bates-stamp PALM-005037545.

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         DECL. OF AMANDA F. LAWRENCE ISO ADVERTISER PLAINTIFFS’ REPLY MEM. IN SUPPORT OF
                      MOT. FOR CLASS CERTIFICATION – CASE NO. 3:20-CV-08570-JD
         Case 3:20-cv-08570-JD Document 700-1 Filed 11/04/23 Page 3 of 3




 1          11.    Attached hereto as Exhibit 10 is a true and correct copy of a document produced by

 2 Meta in this action bearing Bates-stamp PALM-013912488.

 3          12.    Attached hereto as Exhibit 11 is a true and correct copy of a document produced by

 4 Meta in this action bearing Bates-stamp PALM-000777305.

 5          13.    Attached hereto as Exhibit 12 is a true and correct copy of excerpts from the

 6 Deposition Transcript of Mark Geoffrey Young, dated February 13, 2023.

 7          14.    Attached hereto as Exhibit 13 is a true and correct copy of excerpts from the

 8 Deposition Transcript of Katherine Looper, dated October 7, 2022.
 9          15.    Attached hereto as Exhibit 14 is a true and correct copy of excerpts from the
10 Deposition Transcript of Mark Berney, dated May 25, 2023.

11          16.    Attached hereto as Exhibit 15 is a true and correct copy of excerpts from the
12 Deposition Transcript of Jessyca Frederick, dated June 8, 2023.

13          I declare under penalty of perjury under the laws of the United States of America that the
14 foregoing is true and correct. Executed on this 3rd day of November, 2023 at Colchester, Connecticut.

15
                                                           /s/Amanda F. Lawrence
16
                                                           Amanda F. Lawrence
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18                                CERTIFICATE OF SERVICE
19          I hereby certify that on November 3, 2023, I caused a true and correct copy of the foregoing
20 document to be served by electronic mail on all counsel of record.

21 Dated: November 3, 2023                       By:    /s/Amanda F. Lawrence
22                                                     Amanda F. Lawrence

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         DECL. OF AMANDA F. LAWRENCE ISO ADVERTISER PLAINTIFFS’ REPLY MEM. IN SUPPORT OF
                      MOT. FOR CLASS CERTIFICATION – CASE NO. 3:20-CV-08570-JD
